          Case 1:19-cv-01136-APM Document 68 Filed 07/19/21 Page 1 of 7



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 DONALD J. TRUMP; THE TRUMP
 ORGANIZATION, INC.; TRUMP
 ORGANIZATION LLC; THE TRUMP
 CORPORATION; DJT HOLDINGS LLC;
 THE DONALD J. TRUMP REVOCABLE                             Civil Action No. 1:19-cv-1136-APM
 TRUST; and TRUMP OLD POST OFFICE
 LLC,                                                      ORAL HEARING HELD ON
                             Plaintiffs,                   JULY 1, 2021

 v.

 MAZARS USA LLP,
                                        Defendant,

 and

 COMMITTEE ON OVERSIGHT AND
 REFORM OF THE U.S. HOUSE OF
 REPRESENTATIVES,
                    Intervenor-Defendant.

                                    RESPONSE TO NOTICE
        The Committee’s notice raises more questions than it answers. The Committee treats GSA’s

recent production as a matter of legislative grace—a batch of new documents that it will allow Mazars

to withhold. See Notice (Doc. 67) 1. But if the Committee is right that this Court can look past “the

time the subpoena was issued,” Cross-MSJ Reply (Doc. 62) 8, then GSA’s production goes to the

merits of this case: It affects whether the Committee still needs to take the “significant step” of pro-

voking a “‘constitutional confrontation,’” whether the Committee has “other sources” that “could

reasonably provide” the information it needs to legislate, and whether the subpoena is “broader than

reasonably necessary.” Trump v. Mazars USA, LLP, 140 S. Ct. 2019, 2035-36 (2020).

       Though GSA’s production implicates the subpoena’s legality, the Committee won’t even de-

scribe what GSA produced. That should have been easy: GSA includes cover letters with its produc-

tions, like the one it included in its similar production to the Transportation Committee. See 4th Supp.



                                                   1
          Case 1:19-cv-01136-APM Document 68 Filed 07/19/21 Page 2 of 7




Consovoy Decl. (Doc. 60-2) Ex. C. But the Committee will only tell this Court that GSA’s production

responds to Chairman Cummings’ “April 12, 2019 request,” and that the production includes

“[s]ome” documents that are responsive to the Mazars subpoena. Notice 1. When Plaintiffs emailed

the Committee for more information, the Committee would only say that GSA’s production is either

“16,000” or “1,600” pages, covers the time period of “approximately 2013 to 2018,” and was provided

with a request for confidentiality. See Ex. A. The Committee also asserted that “six financial state-

ments” produced by GSA were responsive to the Mazars subpoena, but it did not explain how GSA’s

production was responsive to Chairman Cummings’ April 2019 request or give any other details.

        Absent anything suggesting otherwise, this Court should assume that GSA has now fully com-

plied with Chairman Cummings’ April 2019 request. It is thus reasonable to infer that the Committee

now has all monthly revenues and expenses for the Trump Old Post Office since November 2016, all

financial statements that Plaintiffs submitted to GSA regarding the lease, and all documents in GSA’s

possession concerning Mazars. Compare Ltr. from Cummings to Murphy 2-3 (Apr. 12, 2019),

bit.ly/3zb9uxj, with 3d Supp. Consovoy Decl. (Doc. 54-2) Ex. D. The Committee might be right that

these documents are “only a very small handful” of the documents requested by the Mazars subpoena

(though, that fact simply follows from the subpoena’s staggering breadth). Ex. A. But the question is

not what information the Committee still wants; the question is what information the Committee still

reasonably needs to legislate.

        GSA’s production confirms that the Committee cannot justify the Mazars subpoena as part

of a legislative agenda about leases or emoluments. According to Chairwoman Maloney, the Commit-

tee subpoenaed Mazars—a “neutral third party”—precisely “[b]ecause GSA” had “with[e]ld docu-

ments” in response to Chairman Cummings’ April 2019 request. Maloney Memo. 23, 20-22 (Doc. 56-

2, Ex. F). That reasoning is no longer true. The Committee now has “what was submitted for GSA

review.” Cross-MSJ (Doc. 56) 7-8. If the documents in Mazars’ possession are not an “exact duplicate”



                                                 2
            Case 1:19-cv-01136-APM Document 68 Filed 07/19/21 Page 3 of 7




of GSA’s, Notice 2, that’s because Mazars has documents that were never submitted to GSA—and

that are thus irrelevant to what “financial information [Plaintiffs were] required to submit.” Cross-MSJ

25. The Committee’s insistence that some of Plaintiffs’ filings with GSA might have been false, see

Notice 2, continues to be supported by nothing except Cohen’s testimony about entirely unrelated

filings, see Maloney Memo. 20 (“as Mr. Cohen alleged”); Cross-MSJ 7 (“[t]he documents provided by

Cohen”); Cross-MSJ 32 n.8 (“his own attorney testified”). That evidence-free speculation was always

unjustified, but it’s even more unjustified without support in the actual documents that were submitted

to GSA—documents the Committee now possesses. Also unsupported is the Committee’s specula-

tion about hypothetical “emoluments” concerning unspecified debts. 7/1/21 Tr. 95-96. The Commit-

tee now has detailed information about the Trump International Hotel, which has long been the focus

of its emoluments concerns and provides a far larger sample than it needs to pass broad legislation.

          At the very least, the Committee cannot carry its burden of justifying this subpoena until it

goes through GSA’s production and assesses what it still needs to legislate. Its vague notice is woefully

insufficient. Especially after GSA’s apparently voluminous production, this Court should deny the

Committee’s cross-motion and grant Plaintiffs’ motion for summary judgment.

                                                           Respectfully submitted,

          Dated: July 18, 2021                              s/ Patrick Strawbridge
                                                           CONSOVOY MCCARTHY PLLC
                                                           Ten Post Office Square
                                                           8th Floor South PMB #706
                                                           Boston, MA 02109
                                                           patrick@consovoymccarthy.com


                                    CERTIFICATE OF SERVICE
          I filed this response with the Court via ECF, which will electronically notify everyone requiring

notice.

          Dated: July 18, 2021                             s/ Patrick Strawbridge



                                                     3
Case 1:19-cv-01136-APM Document 68 Filed 07/19/21 Page 4 of 7




              Exhibit A
7/18/2021                Case 1:19-cv-01136-APMConsovoy
                                                  Document       68 Mail
                                                        McCarthy PLLC Filed   07/19/21
                                                                         - Trump v. Mazars Page 5 of 7

                                                                                             Patrick Strawbridge <patrick@consovoymccarthy.com>



 Trump v. Mazars
 Columbus, Eric <Eric.Columbus@mail.house.gov>                                                                Thu, Jul 15, 2021 at 11:38 PM
 To: Patrick Strawbridge <patrick@consovoymccarthy.com>, Cam Norris <cameron@consovoymccarthy.com>
 Cc: "Letter, Douglas" <Douglas.Letter@mail.house.gov>, "Tatelman, Todd" <Todd.Tatelman@mail.house.gov>, "Fahsel, Stacie"
 <Stacie.Fahsel@mail.house.gov>


    Patrick,



    The Committee received approximately 1,600 pages of material in response to the Committee’s April 12, 2019, request related to the Trump
    Old Post Office Hotel. However, only a very small handful of documents consisting of approximately six financial statements that were
    prepared by Mazars for Trump Old Post Office LLC appear to fall within the scope of the Committee’s subpoena to Mazars (under Item #1).
    The relevant time period is approximately 2013 to 2018. As previously mentioned, the Committee intends to communicate with Mazars
    regarding any feasible ways to reduce Mazars’ burden by excluding identical documents received from GSA.



    GSA requested confidential treatment of the materials and requested that the Committee consult with it prior to publicly releasing any of the
    materials. Under normal Committee practice, the Committee does not grant prospective assurances of non-disclosure prior to receiving
    documents containing confidential commercial or financial information. If the Committee plans to publicly disclose documents it has received
    containing such information, Committee staff may, to the extent practicable, provide the producing party reasonable notice of the planned
    disclosure and an opportunity to identify specific concerns or requests for redactions.



    While the Committee has engaged in discussions with the Transportation and Infrastructure Committee (T&I) related to production that they
    received in response to separate requests to GSA, the Committee has not obtained any documents from T&I. Therefore, the Committee is not
    in a position to compare productions. Due to some overlap in the Committees’ requests, we believe there could be overlap in the materials
    produced by GSA. However, there are also material differences in the requests that could result in different production sets.



    Eric



    Eric Columbus

    Office of General Counsel

    U.S. House of Representatives

    5140 O’Neill House Office Building

    Washington, DC 20515

    Eric.Columbus@mail.house.gov

    (202) 225-9700




    From: Tatelman, Todd <Todd.Tatelman@mail.house.gov>
    Sent: Thursday, July 15, 2021 6:17 PM
    To: 'Patrick Strawbridge' <patrick@consovoymccarthy.com>; Letter, Douglas <Douglas.Letter@mail.house.gov>
    Cc: Cam Norris <cameron@consovoymccarthy.com>; Columbus, Eric <Eric.Columbus@mail.house.gov>; Fahsel, Stacie
    <Stacie.Fahsel@mail.house.gov>
    Subject: RE: Trump v. Mazars



    Patrick,



    We asked your questions to the Committee staff that received and is reviewing the GSA production, but we have not heard back from them with speciﬁc
    answers. Our ofﬁce is not normally copied on or otherwise involved with document productions by agencies to Committees. We do know that the volume of


https://mail.google.com/mail/u/1?ik=0ba595acc0&view=pt&search=all&permmsgid=msg-f%3A1705411138033602816&dsqt=1&simpl=msg-f%3A1705411138033…                 1/3
Case 1:19-cv-01136-APM Document 68 Filed 07/19/21 Page 6 of 7
Case 1:19-cv-01136-APM Document 68 Filed 07/19/21 Page 7 of 7
